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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



UNITED STATES OF AMERICA               §
                                       §
v.                                     §      CRIMINAL NUMBER H-04-025-SS
                                       §
KENNETH L. LAY                         §


                       MEMORANDUM OPINION AND ORDER


       Defendant seeks acquittal on grounds that the government has

failed to prove that the banks were FDIC insured on the relevant

dates.     Proof of federally insured status is not a mere formality;

it is an essential element of the federal offense charged.                    See

United States v. Rangel, 728 F.2d 675, 676 (5th Cir.), cert.

denied, 104 S.Ct. 2689 (1984).          The Fifth Circuit has also noted

the lax treatment that some prosecutors have accorded this element.

United States v. Maner, 611 F.2d 107, 112 (5th Cir. 1980). Relying

on Maner, 611 F.2d at 112 & n.2, defendant argues that the

government’s proof of FDIC-insured status is insufficient because

the government has not introduced “the certificate of insurance

issued by the FDIC, the contract of insurance between the bank and

the FDIC, and the cancelled check for the period of time covering

the [alleged crimes].”1         However, the same note in Maner makes

clear that introduction of these three items of evidence is one way

       1
      Motion for Judgment of Acquittal on Counts 38 through 41
because the Government Failed to Prove that the Banks were FDIC
Insured, p 2.
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-- but not the only way -- in which FDIC insured status can be

sufficiently established by the government.           Note 2 in Maner also

states that “[e]ffective use might also be made of certified copies

of business or other official records.”         Id.

     The Indictment alleges that Lay schemed to defraud and made

false statements to three banks -- Bank of America, Chase Bank of

Texas, and Compass Bank.      For each of these banks the government

has submitted a “Certificate of Proof of Insured Status” executed

by Carol L. Middlebrook, the Special Assistant to the Executive

Secretary of the FDIC.        (See GX 1040, 1041, 1042, and 1043.)

Additional certifications by Robert E. Feldman, Executive Secretary

of the FDIC, contain supplemental information for Chase Bank of

Texas and Chase Manhattan Bank.            (See GX 1030, 1031.)             The

certifications establish that each bank was admitted to FDIC

membership and therefore federally insured on a date prior to the

conduct alleged in the Indictment, that insurance applicable to the

main office of each bank is applicable to any domestic U.S. branch,

and that a diligent search revealed no record or entry in the

official records of the FDIC that terminated the status of the bank

as an insured depository institution of the FDIC from a date well

before,   through, and including a date after the events charged in

the Indictment.    Each certification also states that the maker has

official custody of the FDIC records, and attached to each is a log

(certified as a public record) showing the name and ownership


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changes of each bank over the years showing that each bank or its

predecessor was admitted to membership in the FDIC. The government

has also introduced additional certifications in the form of FDIC

records of duplicate copies of the FDIC certificates of insurance

issued to each of the banks.

     All of the FDIC certificates are admissible pursuant to

Federal Rules of Evidence 803(8) and 803(10).          These certificates

establish FDIC-insured status before, through, and after the dates

alleged in the Indictment.       Defendant’s challenge to the suffi-

ciency of the evidence on this element of the offense therefore

lacks merit.    See United States v. Pettigrew, 77 F.3d 1500, 1519 &

n.21 (5th Cir. 1996) (noting absence of any evidence to contradict

government’s showing of federal insurance, which included FSLIC

certificate); United States v. Trice, 823 F.2d 80, 87 (5th Cir.

1987) (same).

     Defendant’s    motion    for   acquittal     on   grounds   that       the

government has failed to prove that the banks were FDIC insured on

the relevant dates is therefore DENIED.

     SIGNED at Houston, Texas, on this the 22nd day of May, 2006.




                                                   SIM LAKE
                                           UNITED STATES DISTRICT JUDGE




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